      Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 1 of 10




                                                          The Honorable Ricardo S. Martinez




                        IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON

PATRICK COLACURCIO, MARIS and                        NO. 2:20-cv-01856-RSM
DAVID HANSON, and JAMES McMURCHIE,
individually and on behalf of all others similarly   FINAL APPROVAL ORDER AND
situated;                                            JUDGMENT
                      Plaintiffs,
        v.
                                                     Noting Date: May 11, 2022
INSIGHT VENTURE PARTNERS VII, L.P., a
Cayman Islands limited partnership; INSIGHT
VENTURE PARTNERS (CAYMAN) VII, L.P.,
a Cayman Islands limited partnership; INSIGHT
VENTURE PARTNERS VII (CO-
INVESTORS), L.P., a Cayman Islands limited
partnership; INSIGHT VENTURE PARTNERS
(DELAWARE) VII, L.P., a Delaware limited
partnership; INSIGHT VENTURE PARTNERS
COINVESTMENT FUND II, L.P., a Delaware
limited partnership; INSIGHT VENTURE
ASSOCIATES VII, L.P., a Delaware limited
partnership; INSIGHT VENTURE
ASSOCIATES VII, LTD., a Cayman Islands
limited company; INSIGHT VENTURE
ASSOCIATES COINVESTMENT II, L.P., a
Delaware limited partnership; INSIGHT
VENTURE MANAGEMENT, LLC, a Delaware
limited liability company; INSIGHT HOLDING
GROUP, LLC, a Delaware limited liability
company, and RYAN HINKLE,

                       Defendants.
            Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 2 of 10




 1           This matter came before the Court on Plaintiffs’ Motion for Final Approval of Class

 2   Action Settlement (“Final Approval Motion”). All capitalized terms not otherwise defined have

 3   the meanings set forth in the Settlement Agreement (Dkt. 92-1) (“Settlement”).

 4           On December 17, 2021, this Court entered an order granting preliminary approval (the

 5   Preliminary Approval Order”) (Dkt. #97), in which the Court preliminarily approved the

 6   proposed Settlement as being fair, reasonable, and adequate to the Settlement Class; preliminarily

 7   certified the Settlement Class; designated Named Plaintiffs and Class Counsel; appointed a

 8   Settlement Administrator; approved the forms and methods of disseminating information about

 9   the Settlement and found them to constitute the best notice practicable under the circumstances,

10   constitute due and sufficient notice of the matters set forth in the notices to all persons entitled to

11   receive such notices, and fully satisfy the requirements of due process, Rule 23 of the Federal

12   Rules of Civil Procedure, 28 U.S.C. § 1715, and all other applicable laws and rules; established

13   procedures for Class Members to opt out of or object to the Settlement, attorney’s fees, and

14   service awards; established deadlines for the filing of a motion for final approval of the

15   Settlement and motion for attorneys’ fees, costs, and service awards; and scheduled a Final

16   Approval Hearing for May 11, 2022 during which the Court would determine whether the

17   Settlement should be finally approved and judgment entered thereon.

18           On January 14, 2022, pursuant to the notice requirements set forth in the Settlement and

19   Preliminary Approval Order, the Settlement Class was apprised of the nature and pendency of

20   the Litigation, the terms of the Settlement, and their rights to request exclusion, object, and/or

21   appear at the Final Approval Hearing.

22           On March 25, 2022, Plaintiff filed a Motion for Final Approval of the Class Action

23   Settlement (the “Final Approval Motion”) and along with supporting declarations and exhibits;



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                            TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 2                                 1200 Fifth Avenue, Suite 1700
                                                                                Seattle, Washington 98101
                                                                          TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 3 of 10




 1   and Class Counsel filed their Motion for an Award of Attorneys’ Fees and Reimbursement of

 2   Expenses and accompanying declarations from counsel of record in the Litigation setting forth

 3   their time and expenses and related exhibits (the “Fee Application”).

 4          On May 11, 2022, the Court held a Final Approval Hearing to determine, inter alia: (1)

 5   whether the Settlement is fair, reasonable, and adequate; and (2) whether judgment should be

 6   entered dismissing all claims in the Complaint with prejudice. Prior to the Final Approval

 7   Hearing, Class Counsel filed a declaration from the Settlement Administrator confirming that the

 8   Notice Program was completed in accordance with the Settlement and Preliminary Approval

 9   Order. Accordingly, the Court is satisfied that Settlement Class Members were properly notified

10   of their right to appear at the Final Approval Hearing in support of, or in opposition to, the

11   proposed Settlement, the award of attorneys’ fees, costs, and expenses, and the payment of a

12   Service Award.

13          Having fully considered and reviewed the proposed Settlement, together with its exhibits,

14   and based upon the relevant papers and all prior proceedings in this matter, the Court determines

15   that the proposed Settlement satisfies the criteria for final approval, the proposed Settlement

16   Class is certified, and the Notice Program is approved. Accordingly, good cause appearing in the

17   record, Plaintiffs’ Motion is GRANTED, and the Court hereby FINDS AND ORDERS THAT:

18                                  Final Approval of the Settlement

19          1.      The Court has personal jurisdiction over the Parties and Settlement Class

20   Members. This Court has subject matter jurisdiction over this Litigation and over all claims raised

21   therein and all matters that relate to the Settlement. Venue is proper.

22          2.      The Settlement was entered into in good faith following arm’s-length negotiations

23   before an experienced mediator and is non-collusive. Negotiations took place after Class Counsel



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                         TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 3                              1200 Fifth Avenue, Suite 1700
                                                                             Seattle, Washington 98101
                                                                       TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 4 of 10




 1   adequately investigated the claims of the named Plaintiffs and the Settlement Class and became

 2   familiar with the strengths and weaknesses of the claims in the Litigation, and the risks attendant

 3   to continued prosecution of those claims.

 4          3.      The Settlement is in all respects fair, reasonable, and adequate. The Settlement

 5   offers substantial benefits to the Settlement Class and is in the best interests of the Settlement

 6   Class. The Settlement satisfies Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”). The

 7   Court finds that the Parties faced significant risks, expenses, delays, and uncertainties, including

 8   as to the outcome of continued litigation of this complex matter, which further supports the

 9   Court’s finding that the Settlement is fair, reasonable, adequate and in the best interest of the

10   Settlement Class.

11          4.      The Court grants full and final approval of the Settlement, as reflected in the

12   Settlement Agreement, including but not limited to the releases and the plan for allocation and

13   distribution of the Settlement funds as provided in the Settlement Agreement. As the Court finds

14   that the Settlement is, in all respects, fair, reasonable, and in the best interest of the Settlement

15   Class, all Settlement Class Members who have not opted-out are bound to the Settlement and

16   this Final Approval Order and Judgment. The Parties are directed to effectuate the Settlement in

17   accordance with the terms of the Settlement Agreement.

18          5.      This Judgment incorporates and makes a part hereof the Settlement Agreement.

19                                       Objections and Opt-Outs

20          6.      The Court finds that no objections have been submitted by Settlement Class

21   Members. To the extent there were any objections to the Settlement, the Court has considered

22   them and found that they are without merit and are overruled in all respects.

23



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                          TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 4                               1200 Fifth Avenue, Suite 1700
                                                                              Seattle, Washington 98101
                                                                        TEL. 206.682.5600  FAX 206.682.2992
            Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 5 of 10




 1           7.      The Court finds that two (2) Settlement Class Members submitted Exclusion

 2   Letters. Those persons (listed on Exhibit C to the Declaration of Cudworth, Dkt. 100) are

 3   excluded from the Class and are not bound by the Settlement or any of the terms or provisions

 4   contained therein.

 5                                 Certification of the Settlement Class

 6           8.      For purposes of the Settlement and this Final Approval Order and Judgment, the

 7   Court hereby finally certifies the following Settlement Class:

 8           All individuals and entities who sold stock in Smartsheet, Inc. in connection with
             the tender offer for stock of Smartsheet, Inc. dated June 2, 2017. Excluded from
 9           the Settlement Class are (1) the Defendants and all of their respective employees,
             officers, directors, agents, immediate family members, legal representatives,
10           parent corporations, subsidiaries, controlled affiliates, insurers, guarantors, heirs,
             successors, and assigns, (2) all other Smartsheet shareholders who offered to
11           purchase shares in the June 2017 tender offer, (3) Mark Mader, Brent Frei, Kara
             Hamilton, and Andrew Lientz, (4) the Judge presiding over this Action and all
12           members of his family, and (5) persons who timely and validly requested
             exclusion from the Settlement Class.
13
     This Settlement Class is certified for purposes of settlement only.
14
             9.      The Court determines that for settlement purposes, the Settlement Class meets all
15
     the requirements of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, namely that
16
     the class is so numerous that joinder of all members is impractical; there are common issues of
17
     law and fact; the claims of the Plaintiffs are typical of absent class members; Plaintiffs will fairly
18
     and adequately protect the interests of the class, and have no interests antagonistic to or in conflict
19
     with the class, and have retained Class Counsel who are experienced and competent counsel to
20
     prosecute this matter; common issues predominate over any individual issues; and a class action
21
     is the superior means of adjudicating the controversy.
22
             10.     The Court grants final approval to the appointment of Named Plaintiffs James
23
     McMurchie, David Hanson and Maris Hanson as the Settlement Class Representatives pursuant


     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                            TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 5                                 1200 Fifth Avenue, Suite 1700
                                                                                Seattle, Washington 98101
                                                                          TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 6 of 10




 1   to Rule 23(a) of the Federal Rules of Civil Procedure. The Court finds that Named Plaintiffs are

 2   similarly situated to absent Settlement Class Members; that Named Plaintiffs have Article III

 3   standing to pursue their claims; that Named Plaintiffs are typical of the Class; and that Named

 4   Plaintiffs have fairly and adequately represented the Settlement Class and will continue to do so.

 5          11.     The Court grants Final approval to the appointment of Plaintiffs’ Counsel from

 6   the firms Tousley Brain Stephens PLLC and McNaul Ebel Nawrot & Helgren PLLC as Class

 7   Counsel pursuant to Fed. R. Civ. P. 23(g). The Court further appoints Jason T. Dennett of Tousley

 8   Brain Stephens PLLC as Lead Class Counsel. The Court finds that these lawyers are experienced

 9   and have adequately protected the interests of the Settlement Class and will continue to do so.

10                                   Notice to the Settlement Class

11          12.     The Court finds that the form and content of the Email Notice and Long Form

12   Notice, and the procedures set forth in the Settlement for providing notice of the Settlement to

13   the Settlement Class, were in full compliance with the requirements of Federal Rules of Civil

14   Procedure 23(c)(2)(B) and 23(e); fully, fairly, accurately, and adequately advised members of

15   the Settlement Class of their rights under the Settlement; were reasonably calculated to provide,

16   and did provide, due and sufficient notice to the Settlement Class of the pendency of the

17   Litigation, certification of the Settlement Class for settlement purposes only, the existence and

18   terms of the Settlement, their right to exclude themselves, and their right to object to the

19   Settlement, attorneys’ fees and expenses, and service awards; and to appear at the Final Approval

20   Hearing; afforded Settlement Class Members with adequate time and opportunity to file

21   objections to the Settlement and submit requests for exclusion; provided the best notice

22   practicable under the circumstances; and fully satisfied the requirements of due process, the

23   Federal Rules of Civil Procedure, and all other applicable laws.



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                          TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 6                               1200 Fifth Avenue, Suite 1700
                                                                              Seattle, Washington 98101
                                                                        TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 7 of 10




 1          13.     The Court finds that Defendants have fully complied with the Notice requirements

 2   of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715.

 3                                          Other Provisions

 4          14.     Administration Expenses. Settlement Administrator’s fees, as well as all other

 5   costs and expenses associated with Notice and Administration, are approved, and shall continue

 6   to be paid as provided in the Settlement Agreement.

 7          15.     Dismissal with Prejudice. Pursuant to the terms of the Settlement Agreement, the

 8   action is hereby DISMISSED WITH PREJUDICE on the merits, without costs or attorneys’

 9   fees to any Party except as provided under the terms of the Settlement Agreement, this Final

10   Approval Order and Judgment, and the Court’s concurrent Order Granting Class Counsel’s

11   Motion for Award of Attorneys’ Fees and Expenses and Issuance of Service Awards.

12          16.     Releases. The Releases set forth in Section 11 of the Settlement Agreement,

13   together with the definitions contained in the Settlement Agreement relating thereto are expressly

14   incorporated herein in all respects. The Releases are effective as of the Effective Date.

15   Accordingly, this Court orders that:

16                  a. Without any further action by anyone, and subject to Paragraph 17 below,

17                      upon the Effective Date of the Settlement, the Named Plaintiffs and each of

18                      the Settlement Class Members, on behalf of themselves and their respective

19                      predecessors, successors, assigns, devisees, spouses, heirs, legatees, and

20                      agents, in their capacities as such, shall have, fully, finally, and forever

21                      released, relinquished, and discharged any and all of the Plaintiffs Released

22                      Claims against each of the Defendant Releasees, and shall forever be barred

23



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                        TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 7                             1200 Fifth Avenue, Suite 1700
                                                                            Seattle, Washington 98101
                                                                      TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 8 of 10




 1                      and enjoined from prosecuting any and all of the Plaintiffs Released Claims

 2                      against any of the Defendant Releasees.

 3                  b. Without further action by anyone, and subject to Paragraph 17 below, upon

 4                      the Effective Date of the Settlement, the Defendants, on behalf of themselves

 5                      and their respective predecessors, successors, assigns, devisees, spouses,

 6                      heirs, legatees, and agents, in their capacities as such, shall have, fully, finally,

 7                      and forever released, relinquished, and discharged any and all of the

 8                      Defendants Released Claims against each of the Named Plaintiffs and

 9                      Settlement Class Members, and shall forever be barred and enjoined from

10                      prosecuting any and all of the Defendants Released Claims against any of the

11                      Named Plaintiffs and Settlement Class Members.

12          17.     Notwithstanding Paragraphs 16(a) – 16(b), nothing in this Final Approval Order

13   and Judgment shall bar any action by any of the Parties to enforce or effectuate the terms of the

14   Settlement Agreement or this Final Approval Order and Judgment.

15          18.     Bar Order. The Court hereby permanently bars any and all claims for contribution

16   against Defendant Releasees arising out of any Plaintiffs Released Claim where the alleged injury

17   to the claiming person or entity arises from that person’s or entity’s liability to the Settlement

18   Class or any Settlement Class Member (a) by any person or entity against any of the Defendant

19   Releasees or (b) by any of the Defendant Releasees against any other person or entity, other than

20   a person or entity whose liability has been extinguished by the Settlement; provided however that

21   nothing in this paragraph shall give any rights to the Defendants or to any party that the

22   Defendants caused to make payments to recover any funds deposited into the Settlement Fund.

23



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                            TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 8                                 1200 Fifth Avenue, Suite 1700
                                                                                Seattle, Washington 98101
                                                                          TEL. 206.682.5600  FAX 206.682.2992
           Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 9 of 10




 1          19.      Continuing Jurisdiction. Without affecting the finality of the Final Approval

 2   Order and Judgment for purposes of appeal, the Court retains continuing and exclusive

 3   jurisdiction over the Parties and all matters relating to the Settlement, including the

 4   administration, interpretation, construction, effectuation, enforcement, and consummation of the

 5   Settlement and this Final Approval Order and Judgment.

 6          20.      Binding Effect. The terms of the Settlement Agreement and of this Final Approval

 7   Order and Judgment shall be forever binding on the Defendants, Plaintiffs, and all other

 8   Settlement Class Members, as well as their respective successors and assigns.

 9
            IT IS SO ORDERED this 11th day of May, 2022.
10

11

12                                                A
                                                  RICARDO S. MARTINEZ
13                                                CHIEF UNITED STATES DISTRICT JUDGE

14

15

16
     Presented by:
17
     TOUSLEY BRAIN STEPHENS PLLC
18

19   By: s/ Jason T. Dennett
       Jason T. Dennett, WSBA #30686
20     Kim D. Stephens, WSBA #11984
       Cecily C. Jordan, WSBA #50061
21     Kaleigh N. Powell, WSBA #52684
       Email: kpowell@tousley.com
22     1200 Fifth Avenue, Suite 1700
       Seattle, WA 98101
23     Tel: (206) 682-5600/Fax: (206) 682-2992



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL                       TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 9                            1200 Fifth Avenue, Suite 1700
                                                                           Seattle, Washington 98101
                                                                     TEL. 206.682.5600  FAX 206.682.2992
         Case 2:20-cv-01856-RSM Document 108 Filed 05/11/22 Page 10 of 10




 1      Email:Jdennett@tousley.com
               kstephens@tousley.com
 2             kpowell@tousley.com
               cjordan@tousley.com
 3

 4   McNAUL EBEL NAWROT & HELGREN PLLC

 5      Avi J. Lipman, WSBA No. 37661
        Malaika M. Eaton, WSBA No. 32837
 6      Ai-Li Chiong-Martinson, WSBA No. 53359
        Michael P. Hatley, WSBA No. 57500
 7      600 University Street, Suite 2700
        Seattle, Washington 98101
 8      Telephone (206) 467-1816
        Email: meaton@mcnaul.com
 9              alipman@mcnaul.com
                achiongmartinson@mcnaul.com
10              mhatley@mcnaul.com

11

12

13

14

15

16

17

18

19

20

21

22

23



     ORDER GRANTING PLAINTIFFS' MOTION FOR FINAL        TOUSLEY BRAIN STEPHENS PLLC
     APPROVAL OF CLASS ACTION SETTLEMENT - 10            1200 Fifth Avenue, Suite 1700
                                                            Seattle, Washington 98101
                                                      TEL. 206.682.5600  FAX 206.682.2992
